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             EXHIBIT F
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            Civil' Tentative Rulings

            DEPARTMENT 10 LAW AND MOTION RULINGS


            Case Number: 6C465313               Hearing Date: August 20, 2012              Dept: 10

            The motion of defendants Medtronic Sofamor Danek USA, Inc. and Medtronic, Inc.
            (collectively "Medtronic") for Summary Judgment is DENIED.

            The alternative Motion for Summary Adjudication is MOOT as to Issues 3, 5, 6 and
            8 because Plaintiff has agreed to dismiss her 4th cause of action for strict liability
            and her 6th cause of action for breach of implied warranty.

           The alternative motion for summary adjudication is DENIED as to Issues 1, 2, 4, 7,
           9, and 10.

            A ruling on Medtronic's motion to file Exh. A (or Exhs. A and 6) under seal is
            deferred to the hearing on the motion for summary judgment.

            Plaintiff's request to file medical records under seal is GRANTED.

            Plaintiff's request to file tax records under seal is GRANTED.


            Defendants' Objections Nos. 1-33:

           Objection Ruling
           1 Overruled
           2 Overruled
           3 Overruled
           4 Overruled
           5 Overruled
           6 Overruled
           7 Overruled
           8 Overruled
           9 Overruled
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            27 Sustained
            28 Sustained
            29 Sustained
            30 Sustained
            31 Sustained
            32 Overruled
            33 Overruled




            MOTION FOR SUMMARY JUDGMENT AND/OR SUMMARY ADJUDICATION

            Medtronic moves for summary judgment, or alternatively summary adjudication, of
            each of the five causes of action asserted against Medtronic in the complaint on the
            ground that the claims are preempted by federal law pursuant to the express
            preemption provision of the Medical Device Amendments ("MDA") contained in the
            federal Food, Drug and Cosmetic Act, 21 USC § 360k, et seq., by application of
            implied preemption principles, or by the Food, Drug and Cosmetic Act's bar against
            private actions enforcing its provision, 21 USC § 337. Because Medtronic
            manufactured, designed and labeled plaintiff's Premarket Approved device in
            accordance with the specifications mandated by the FDA, any state-law claim that
            would impose requirements on the device that are contrary to those imposed by the
            FDA is prohibited by the express preemption provision, 21 U.S.c, Section 360k(a),
            as articulated by the Supreme Court in Riegel v. ·Medtronic, Inc. (2008) 552 U.S.
            312, implied preemption principles articulated in Buckman Co. v. Plaintiff's Legal
            Committee (2001) 531 U.S. 341, and by the Food, Drug arid Cosmetic Act's bar.
            against private actions enforcing its provisions, 21 U.S.C. § 337. Therefore,
            Medtronic is entitled to judgment under CCP § 437c.

           In opposition, plaintiff contends that the central issue in this case is whether federal
           law preempts products liability claims against manufacturers of a medical devoice
           where the patient claims she was harmed as a result of the manufacturer's illegal
           promotion of the medical device for uses not approved by the FDA.


            Complaint

            In the complaint, it is alleged that this is a products liability action arising out of
            injuries caused by the illegal off-label promotion of two medical device
            manufacturers. (Complaint ~1.) To cure her back pain, plaintiff underwent a
            surgery in which her surgeon used a mixture of two products manufactured by
            defendant Stryker Biotech. (~1.) The mixed use of these two products (Calstrux and
            OP-l) had not been approved by the FDA and Stryker .knew that the mixed used of
            these two products was ineffective and could lead to unwanted bone growth. (~1.)

            Nonetheless, Stryker engaged in extensive and illegal off-label promotion of the
            mixed use of these two products. (~1.) Plaintiff eventually had to undergo a second
            surgery to remove the excessive bone growth. (~1.) In the second surgery,
            plaintiff's surgeon removed the "bone of unknown origin" and, in order to fuse the
            bone, the surgeon used INFUSE Bone Graft manufactured by defendant Medtronic.
            (~2.) The INFUSE Bone Graft had only been approved for a limited surgical
            procedure, yet Medtronic illegally promoted it for a number of off-label procedures.
            (~2.) The surgeon used the INFUSE Bone Graft in an off-label manner and the
            surgery failed to remedy plaintiff's condition and exacerbated her pain. (~2.) As a



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            result of the untested, unapproved, and off-label use of materials during her
            surgeries, her condition and pain has worsened and necessitated additional
            surgeries. (~3.)

            Medtronic acquired the exclusive rights to recombinant human bone morphogenetic
            protein-2 ("rhBMP-2") for spinal applications. (~64.) rhBMP-2 is a genetically
            engineered version of a naturally occurring protein that stimulates bone growth,
            developed as a commercially viable bone morphogenetic protein ("BMP")
            technology. (~64.) On January 12, 2001, Medtronic filed the INFUSE Bone Graft
            PMA and was granted expedited review status by the FDA. (~65.)

            On July 2, 2002, the FDA approved INFUSE Bone Graft for certain limited uses.
            (~66.) Although these two components are sold separately, the initial approved
            labeling for the product indicates that the INFUSE Bone Graft must be used with
            the LT-CAGE component. (~68.) The labeling also directs the specific manner in
            which both components are to be used in a fusion procedure. (~69.) INFUSE Bone
            Graft can only be used in an Anterior Lumbar Interbody Fusion ("AUF") procedure,
            involving a single-level fusion in the L4-S1 region of the lumbar spine. (~70.) AUF
            is performed by approaching the spine from the front through an incision in the
            abdomen and is primarily used to treat pain resulting from disc collapse. (~71.)
            There are numerous other lumbar spine surgical procedures for which INFUSE had
            not been approved but for which it was promoted and/or utilized, such as (a)
            Posterior Lumbar Interbody Fusion ("PUF"); (b) Posterolateral Fusion;' and (c)
            Transforaminal Lumbar Interbody Fusion ("TUF"). (~71.) Use of rhBMP-2 in other
            applications revealed instances of adverse events. (~72.) At the FDA Advisory
            Committee panel hearing on January 10, 2002 concerning FDA approval of
            Medtronic's INFUSE Bone Graft, the panel members stressed concerns regarding
            potential off-Ia.bel use of the product and asked Medtronic presenters repeated
            questions about how the Company would seek to guard against off-label
            applications of the product. (~~74-75.) At the time of its FDA approval, Medtronic
            and its senior management, were well aware of the concern regarding off-label uses
            of INFUSE Bone Graft and the potential dangers posed by them. (~76.) Subsequent
            medical studies confirmed the fears of the FDA AdVisory Panel that use of INFUSE
            Bone Graft outside of the studied application sought in the PMA could present
            severe risks to patient safety. (~~77-78.)

            Medtronic's senior management concealed the company's surreptitious effort to
            promote the widespread off-label use of INFUSE Bone Graft. Medtronic provided
            millions of dollars in undisclosed payments to doctors (including so-called "Key
            Opinion Leaders") who published articles in medical journals, delivered
            presentations at continuing medical education courses, and appeared at consulting
            engagements addressing off-label applications of INFUSE Bone Graft. (~~81, 84.)
            Under applicable FDCA and FDA regulations, device and drug manufacturers such
            as I'1edtronic are prohibited from actively promoting products for uses not approved
            by the FDA. (~82.)

            Dr. Mesiwala performed a surgical procedure on plaintiff on September 26, 2008,
            including the off-label procedure of the mixed use of the two Stryker products.
            (~~87-88.) In the July 13, 2009 surgery, Dr. Mesiwala removed the Stryker bone
            graft and used the INFUSE Bone Graft in an off-label manner (instead of performing
            an anterior procedure, Dr. Mesiwala opted for a posterior procedure). (~~94-95.)
            The Medtronic defendants, directly and indirectly promoted, trained, and
            encouraged Dr. Mesiwala to perform this procedure. (~96.) Dr. Mesiwala never
            informed plaintiff that he would be using the product at all or in that manner, that
            the procedure was not FDA approved, that it could result in adverse affects, etc.



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            (~97.) Plaintiff has never recovered from her two surgeries and continues to have
            daily severe disabling pain in her lower back and nerve pain throughout her right
            leg. (~98.)

            The five causes of action brought against Medtronic are: (2) negligence; (4) strict
            liability; (6) breach of express and implied warranty; (8) fraud; and (9) negligence
            per se. (As indicated above, plaintiff has agreed to dismiss her 4th cause of action
            for strict liability and her 6th cause of action for implied warranty.)


            Express Preemption

            Medtronic argues that pursuant to Riegel, supra, 552 U.S. 312, plaintiff's claims
            must be dismissed. (Motion p. 7.) In opposition, plaintiff argues that Riegel and its
            progeny held that, while manufacturers who comply with federal law may be
            entitled to preemption, those who violate federal law are not entitled to
            preemption. (Opposition p. 4.) Plaintiff's argument is persuasive.

            In Riegel, a cardiac patient sued the manufacturer of a balloon catheter used in his
            angioplasty, asserting state-law claims including strict liability, breach of implied
            warranty, and negligent design, testing, inspection, distribution, labeling,
            marketing, sale and manufacture. The US Supreme Court held that the FDA's
            premarket approval process established federal requirements and that the patient's
            New York common-law claims of negligence, strict liability, and implied warranty
            against manufacturer were preempted.

            Plaintiffs "alleged that Medtronic's catheter was designed, labeled, and
            manufactured in a manner that violated New York common law, and that these
            defects caused Riegel to suffer severe and permanent injuries. The complaint raised
            a number of common-law claims." Riegel, supra, 552 U.S. at 320. "Since the MDA
            expressly pre-empts only state requirements 'different from, or in addition to, any
            requirement applicable ". to the device' under federal law, [21 USCA] §
            360k(a)(1), we must determine whether the Federal Government has established
            requirements applicable to Medtronic's catheter. If so, we must then determine
            whether the Riegels' common-law claims are based upon New York requirements
            with respect to the device that are 'different from, or in addition to' the federal
            ones, and that relate to safety and effectiveness. § 360k(a)." Id. at 321-322.

            "State requirements are pre-empted under the MDA only to the extent that they
            are 'different from, or in addition to' the requirements imposed by federal law. §
            360k(~)(1). Thus, § 360k does not prevent a State from providing a damages
            remedy for claims premised on a violation of FDA regulations; the state duties in
            such a case 'parallel,' rather than add to, federal requirements. [Citations.] The
            District Court in this case recognized that parallel claims would not be pre-empted,
            [citation], but it interpreted the claims here to assert that Medtronic's device
            violated state tort law notwithstanding compliance with the relevant federal
            requirements, [citation]. Although the Riegels now argue that their lawsuit raises
            parallel claims, they made no such contention in their briefs before the Second
            Circuit, nor did they raise this argument in their petition for certiorari. We decline
            to address that argument in the first instance here." Riegel, supra, 552 U.S. at 330.

             Here, as discussed above, plaintiff's claim is not based on allegations that
             Med~ronic's device violated state tort law notwithstanding compliance with the
           . relevant federal requirements. In contrast, plaintiff here is alleging that Medtronic
             promoted the use of its device in violation of federal requirements. (See Complaint



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            cited above; see also plaintiff's responses to Separate Statement of Undisputed
            Facts ("SSUF") 6, 8, 10, 13-15; Plaintiff's Additional Material Facts ("AMF") 23-39.)
            Accordingly, Riegel is not authority that plaintiff's claims against Medtronic are
            preempted here.


            Off-Label Allegations

            Medtronic argues that the fact that plaintiff makes off-label promotion allegations
            does not immunize her claims under section 360k(a). Medtronic cites McGuan v.
            Endovascular Technologies, Inc. (2010) 182 Cal.AppAth 974, 978, 983 and Wolicki-
            Gables (M.D. Fla. 2009) 641 F.Supp.2d 1270, 1292. (Motion pp. 12-13.)

           In its reply brief, Medtronic states that McGuan "is the controlling California
           decision." (Reply, p. 2: 11.) But McGuan is not apposite. In McGuan, patients
           brought product liability and personal injury actions against manufacturers and
           designers of abdominal aortic aneurysm treatment device after patients suffered
           severe injuries after they were implanted with the device. The Court of Appeal held
           that the MDA preempted the patients' state law claims and any claims for fraud on
           the FDA and fraud on patients and their physicians. As the court noted, "Plaintiffs'
           complaints focus on defects in the design, testing, and manufacture of the Ancure
           Device, the failure to warn of all possible adverse side effects, and the fraudulent
           concealment of the dangers and defects of the product. The complaints do not refer
           to violations of federal law." Id. at 980. The court later repeats this all-important
           qualifier: "[H]ere, though plaintiffs' complaints are based, in part, on alleged
           defects in the design, testing, and manufacture of the Ancure Device, as well as the
           failure to warn of all possible adverse sideeffects, they do not allege that
           defendants violated FDA regulations." Id at p. 983. In contrast here, plaintiff's
           claims are based on the promotion and use of the product in a manner that has not
           been approved by the FDA.

           Also, as to Wolicki-Gables, the portion of the case cited is not relevant to plaintiff's
           claims. in this action. (See id. at 1292 ["As to Plaintiffs' claim based on an alleged
           'off label' use of the pain pump, Dr. Reese testified that Dr. James' decisions on
           7/15/2003 resulted in an "off label" use of the pain pump and Defendant Nelson
           should have advised Dr. James as such during the procedure. Dr. Reese, who is not
           a medical doctor, testified that Dr. James should have removed and replaced
           everything originally implanted: pump, catheter connector, and intrathecal catheter.
           According to Dr. Reese, the exercise of medical judgment by Dr. James went beyond
           the prodLict labeling and resulted in an off label use, although Dr. Reese
           acknowledges that the replacement catheter connector itself was used exactly as
           indicated in the FDA approved labeling to connect the pump to the catheter. [m The
           Court has already recognized that 'off label use,' within the context of medical
           treatment is not prohibited, as the FDCA does not regulate the practice of medicine.
            [~] The Court notes that a claim for negli'gence based on "off label use" is not
            pleaded [as to one defendant] ... and there is a complete lack of evidence as to
           any claim for negligence based.on "off label" marketing and promotion [by the
           other defendant]."])                        .


            Parallel. Claims

            Medtronic also argues that plaintiff's state law claims do not amount to genuine
            "parallel claims." Medtronic fails to cite to any submitted evidence in support of its
            argument that the exception under Riegel does not apply here. Instead, Medtronic



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            seems to be placing the burden upon plaintiff to prove her claims; however, this is
            not plaintiff's burden in opposing a motion for summary judgment. (See Opposition
            p.14.)


            Implied Preemption

            Medtronic next argues that even if plaintiff's claims were not expressly preempted,
            they would still be barred because they are impliedly preempted under Buckman,
            supra, 531 U.S. 341 and 21 USC § 337(a). (Motion p. 15.) In opposition, plaintiff
            correctly points out that Buckman concerned a "fraud on the FDA" claim, which is
            not applicable to this case.

            The California Court of Appeal in McGuan, supra, summarized Buckman:

            "In Buckman, the plaintiffs suffered injuries after orthopedic bone screws were
            implanted in their spines. ( Buckman, supra, 531 U.S. at p. 343, 121 S.Ct. 1012.)
            The plaintiffs then brought state tort law claims in which they alleged that the
            defendant made fraudulent representations to the FDA in obtaining approval to
            market these CLASS III devices, and they would not have been injured if these
            representations had not been made. ( Ibid.) The Buckman court began its
            discussion by observing that "[p]olicing fraud against federal agencies is hardly 'a
            field which the States have traditionally occupied,' [citation]" and thus the nature of
            the plaintiffs' claims was insufficient to warrant a presumption against preemption.
            ( Buckman, at p. 347, 121 S.Ct. 1012.) The court based this conclusion on the
            principle that 'the relationship between a federal agency and the entity it regulates
            is inherently federal in character because the relationship originates from, is
            governed by, and terminates according to federal law.' ( Ibid.)

             Based on this "analytical framework," the court held that the state law fraud-
             on-the-FDA claims conflicted with, and thus, were impliedly preempted by federal
             law. ( Buckman, supra, 531 U.S. at p. 348, 121 S.Ct. 1012.) As the court
             explained, "[t]he conflict stems from the fact that the federal statutory scheme
             amply empowers the FDA to punish and deter fraud against the Administration, and
             that this authority is used by the Administration to achieve a somewhat delicate
             balance of statutory objectives. The balance sought by the Administration can be
             skewed by allowing fraud-on-the-FDA claims under state tort law." ( Ibid.) After
             reviewing the extensive disclosure requirements of the MDA and the provisions
             governing the .detection, deterrence and punishment of false statements made
             during the approval process, the court concluded that state tort law fraud-
             on-the-FDA claims would "inevitably conflict with the FDA's responsibilityto police
             fraud conSistently with the Administration's judgment and objectives." ( Buckman,
             at pp. 349-350, 121 S.Ct. 1012.) Since the court held that the claims were
           . impliedly preempted, it did not consider whether the claims were expressly
             preempted under 21 U.S.c. § 360k. (Buckman, at p. 348, fn. 2., 121 S.Ct. 1012)."
             McGuan, supra, 182 Cal.AppAth at 984-985.

            Buckman is inapposite to plaintiff's claims as plaintiff has not brought a claim for
            "fraud-on-the-FDA" against Medtronic.

            The Court notes that the recently-decided case of Cornett v. Johnson & Johnson, _
            A.3d __ , 2012 WL 3210943 (N.J., Aug. 9, 2012) reaches a similar conclusion. The
            New Jersey Supreme Court analyzed the preemption doctrine and concluded that
            failure to warn claims and breach of express warranty claims are not necessarily
            preempted as a matter of law. If "plaintiffs' failure to warn claim is founded on



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            promotion by defendants of off-label uses of the device ... the claim is not
            preempted." (Id. at p. *13.) Similarly, the court concluded that "to the extent ...
            defendants have deviated from the labeling and instructions for use through
            voluntary statements to third parties in the course of its marketing efforts, this
            claim [for breach of express warranty] is not preempted." (Id. at p. *15.)

            (Lastly, the court notes that on page 1 of defendants' reply brief, Medtronic cites to
            the Los Angeles Superior Court case of Coleman v. Medtronics Corp. (Reply, p.
            1: 11-13.) Medtronic states that "[I]n Coleman, the court sustained Medtronic's
            demurrer without leave to amend on federal preemption grounds in another LA
            Suerior [sic] Court case involving the Infuse Device. Medtronic recognizes the trial
            court decision in Coleman does not have binding precedential value and is not
            submitting it for that purpose but merely to alert this court to a decision in a
            similar case." (Reply, p. 1, fn. 1.) Such an effort to "alert" this court is improper. It
            might behoove the managing partner on this case, the next time he reviews such a
            brief, not only to correct the typographical error, but to delete the allusion to
            uncitable cases altogether.)



            For the aforementioned'reasons, the motion for summary judgment IS DENIED.

            As to the alternative motion for summary adjudication, the motion is DENIED as to
            Issues 1, 2, 4, 9 and 10 for the same reasons. (The court would deny the
            alternative motion for summary adjudication as to issue No.5 for the same reason;
            however since plaintiff has agreed to withdraw her 6th cause of action, this issue is
            now moot.)                                                                .


            Independent State Law Grounds

            Medtronic also argues that: (A) the fourth cause of action for strict liability is
            barred by the application of the Restatement (Second) of Torts § 402A, Comment K
            (MSA: Issue 3); (B) that the sixth cause of action for breach of implied warranty of
            fitness is barred by Civil Code § 1793.02(e)(3) (MSA: Issue 6); and (C) the sixth
            cause of action for breach of express and implied warranty fails due to lack of
            privity (MSA: Issues 7 (express warranty) and 8 (implfed warranty». (Motion pp.
            18-20.)

            Plaintiff has agreed to dismiss her strict liability design defect claim and her breach
            of implied warranty claim. (Opposition p. 19.) Therefore, as to issues Nos. 3, 6 and
            8, the motion for summary adjudication is moot.

            Medtronic cites Fieldstone Co. v. Briggs Plumbing Products, Inc. (1997) 54
            Cal.AppAth 357 (superseded by statute on other grounds) for the proposition that
            privity of contract is a required element of an express breach of warranty cause of
            action. (Motion p. 20.) However, the court actually stated that "As a general rule,
            privity of contract is a required element of an express breach of warranty cause of
            action. [Citation.] However, there is an exception where plaintiff's decision to
            purchase the product was made in reliance on the manufacturers' written
            representations in labels or advertising materials. [Citations.]" Id. at p. 369, fn. 10.
            In opposition, plaintiff cites cases in which courts stated that privity is not required
            for breach of express warranty claims. (Opposition p. 19.) "We note that privity is
            not a requirement for actions based upon an express warranty." In Evraets v.
            Intermedics Intraocular, Inc. (1994) 29 Cal.AppAth 779, 789, citing Seely v. White



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            Motor Co. (1965) 63Cal.2d 9, 14 and Rodrigues v. Campbell Industries (1978), 87
            Cal.App.3d 494, 500; see also Hauter v. Zogarts (1975) 14 Cal.3d 104, 115 ("The
            fact that Fred Hauter is not in privity with defendants does not bar recovery. Privity
            is not required for an action based upon an express warranty.)

            Plaintiff's argument, as indicated by the above cases, is persuasive. Plaintiff also
            argues that Judge Sinanian has already rejected an identical argument that was
            advanced by co-defendant Stryker. (Opposition p. 19, citing Exhibit 32.) This
            argument is not persuasiVe: a previous rejection of a similar argument on demurrer
            is not relevant at the Summary Judgment stage.)

            Plaintiff's claim for breach of express warranty is not barred as a matter of law.

            The motion for summary adjudication is DENIED as to Issue 7.



            SEALING OF PORTIONS OF THE RECORD

            The court has three requests for filing various documents under seal:
            1) Medtronic requests to file Exh. A (or Exhs. A and B) under seal
            2) Plaintiff requests to file medical records under seal
            3) Plaintiff's request to file tax records under seal

            The trial court "may order that a record be filed under seal only if it expressly finds
            facts that establish: U] (1) There exists an overriding interest that overcomes the
            right of public access to the record; [~] (2) The overriding interest supports sealing
            the record; [~] (3) A substantial probability exists that the overriding interest will
            be prejudiced if the record is not sealed; [~] (4) The proposed sealing is narrowly
            tailored; and [~] (5) No less restrictive means exist to achieve the overriding
            interest." (Cal. Rules of Court, rule 2.550(d).)


            Medtronic's Request to File Exhibit(s) Under Seal:

            Medtronic has filed a motion to file under seal Exhibit A to the Declaration of
            William Garth Conrad submitted in support of Medtr-onic's motion. This exhibit was
            filed conditionally under seal on December 15, 2011 and the motion is made
            pursuant to CRC 2.550 and 2.551 and the stipulation and protective order entered
            in this action. Both the moving papers (filed December 15, 2011) and the reply
            (filed August 13( 2012) refer to an Exhibit A to the Declaration of William Garth
            Conrad; however, the "Amended Declaration of Michelle L. Cheng," filed April 25,
            2012( refers to two documents( Exhibits A and B, that were filed under seal.

            Exhibit A to the Declaration of William Garth Conrad apparently contains highly
            confidential and proprietary information about Medtronic's method of tracking each
            of the devices through the proprietary manufacturing process and their extensive
            inspections, all of which ensure the device's quality standards and conformance
            with the design requirements. (Memo of P&A p. 3; Barry Declaration. ~~5-10.)

            Exhibits A and B to the Amended Declaration of Michelle L. Cheng are plaintiff's
            medical records from the July 13( 2009 surgery.

            It is not clear to the court which document(s) Medtronics is requesting be filed
            under seal.



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            The court request clarification on this issue at the summary judgment hearing.


            Plaintiff's Requests to File Exhibits Under Seal:

            Cabana requests that two documents be filed under seal: part of her own medical
            records, and a third-party tax return. The court finds that all five requirements of
            Cal. Rules of Court, rule 2.SS0(d) are met and grants her request.


            Plaintiff to prepare the Order.
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